     Case 8:25-cv-00462-TDC        Document 93    Filed 04/17/25   Page 1 of 40

                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

J. DOE 4,

J. DOE 7,

J. DOE 22

J. DOE 27,

J. DOE 28,

J. DOE 29, on behalf of themselves and all ​
others similarly situated, ​

                 Plaintiffs

                 v.                              Case No. 8:25-cv-00462-TDC

ELON MUSK, in his official capacity, ​

UNITED STATES DOGE SERVICE,​

DEPARTMENT OF GOVERNMENT
EFFICIENCY, ​
​
UNITED STATES AGENCY FOR
INTERNATIONAL DEVELOPMENT, ​
​
UNITED STATES DEPARTMENT OF ​
STATE,

DONALD J. TRUMP, in his official capacity,
​
MARCO RUBIO, in his official capacity, ​
​
PETER MAROCCO, in his official capacity,
​
JEREMEY LEWIN, in his official capacity,
​
KENNETH JACKSON, in his official capacity,

AMY GLEASON, in her official capacity,

                 Defendants.
                   AMENDED CLASS ACTION COMPLAINT FOR​
                    DECLARATORY AND INJUNCTIVE RELIEF
       Case 8:25-cv-00462-TDC         Document 93        Filed 04/17/25      Page 2 of 40

       Plaintiffs, J. Doe 4, J. Doe 7, J. Doe 22, J. Doe 27, J. Doe 28 and J. Doe 29,1 on behalf of

themselves and all others similarly situated, hereby bring this Amended Class Action Complaint

against Elon Musk, in his official capacity as the de facto leader of DOGE; United States DOGE

Service and the Department of Government Efficiency (collectively “DOGE”); the United States

Agency for International Development (“USAID”); the United States Department of State (“State

Department”); President Donald J. Trump; four key decision-makers at USAID—Secretary of

State ​Marco Rubio, who also serves as the Acting Administrator of USAID; Peter Marocco, who

performed the duties of Deputy Administrator of USAID; Jeremy Lewin, the Deputy

Administrator for Policy and Programming and the Chief Operating Officer for USAID;2

Kenneth Jackson, the Deputy Administrator for Management and Resources at USAID; and Amy

Gleason, the Acting Administrator of Defendant US DOGE Service.3


                                 NATURE OF THE ACTION


       “Since it was established by Executive Order on January 20, 2025, the ‘Department of

Government Efficiency,’ or ‘DOGE,’ has sent teams of personnel to numerous federal

departments and agencies, taken control of their computer systems, and in many instances, taken

the lead in terminating numerous contracts and employees. In the case of [USAID], DOGE and

its leader, Elon Musk, have also played a leading role in actions taken to shut down and dismantle

the agency, which have included permanently closing its headquarters, taking down its website,

and engaging in mass terminations of contracts, grants, and personnel.” Mem. Op. at 1, ECF No.

73.​

1
  The Court previously granted a motion waiving the requirements of Local Rule 102.2(a) and
permitting Plaintiffs to proceed under pseudonyms. ECF No. 81.
2
  Or has been delegated and is performing the duties and functions of Deputy Administrator for
Policy and Programming and Chief Operating Officer.
3
  Or has been delegated and is performing the duties and functions of Deputy Administrator for
Management and Resources.


                                                2
       Case 8:25-cv-00462-TDC           Document 93       Filed 04/17/25      Page 3 of 40

​      Defendant Musk’s exercise of extraordinary—and seemingly unprecedented—authority

has included USAID decisions on “matter[s] of great significance” that required “substantial

discretion,” of the type that must be performed by a duly appointed officer. Id. at 29-30.

Moreover, as the de facto head of DOGE, Defendant Musk’s position has required ongoing,

“around-the-clock” work that constitutes a “continuing position” under Appointments Clause

jurisprudence. Id. at 34-36. Accordingly, this Court previously ruled that Plaintiffs have

“demonstrated a likelihood of success on the merits of the Appointments Clause claim as to the

decision to permanently close USAID headquarters.” Id. at 36.​

​      Additionally, the record compiled on the preliminary injunction motion demonstrates that

“Defendants, as well as other government officials, have acted swiftly to shut down, dismantle,

and effectively eliminate USAID as an independent agency.” Id. at 37. In February alone, this

included “physically clos[ing] USAID headquarters and shut[ting] down key functionalities of

the agency,” taking the website offline, “eliminat[ing] or sidelining [] almost its entire

workforce,” terminating substantially all USAID grants and contracts, and preventing USAID

from fulfilling even its statutorily required activities. Id. at 37-40. Indeed, by February 19, 2025,

President Trump claimed, “we have effectively eliminated” the agency. Id. at 40. Days later,

Defendant Musk added, “the world will be better for this,” referring to DOGE’s dismantling of

USAID. Id.


       But,


       Where Congress has consistently reserved for itself the power to create and
       abolish federal agencies, specifically established USAID as an agency by statute,
       and has not previously permitted actions taken toward a reorganization or
       elimination of the agency without first providing a detailed justification to
       Congress, Defendants’ actions taken to abolish or dismantle USAID are
       “incompatible with the express or implied will of Congress.”​


Id. at 46-47 (quoting Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637 (1952)


                                                 3
       Case 8:25-cv-00462-TDC           Document 93        Filed 04/17/25      Page 4 of 40

(Jackson, J., concurring)). Thus, this Court also previously found a likelihood of success on the

merits of the Separation of Powers claim. ​

​      Plaintiffs and those similarly situated to them have had their lives upended as a result of

Defendants’ actions, which were made wholly outside the bounds of the Constitution. Defendant

Musk in particular has repeatedly publicly besmirched the good names of these dedicated, loyal

civil servants to justify Defendants’ power grab, causing reputational injury to Plaintiffs that will

threaten their ability to obtain future employment. Defendants have also unlawfully accessed and

disclosed Plaintiffs’ personal data. In an affront to their dignity, Defendants have pulled the rug

out from under Plaintiffs professionally and financially, without explanation or warning.​

​      Moreover, the impact of this unauthorized dismantling of USAID has had disastrous

consequences for the American and global public, effectively paralyzing operations that

delivered life‐saving aid across more than 100 countries. Critical humanitarian programs—such

as HIV treatment initiatives, malaria prevention efforts, infectious disease strategies that prevent

the transnational spread of disease, and efforts supporting the Gaza-Israeli ceasefire—were

simply shut off, as Plaintiffs and those similarly situated to them abruptly lost access to their

USAID systems. Defendants left vulnerable communities in the lurch. Without essential medical

care or other necessities USAID previously provided, Defendants exposed these populations to

easily preventable harm, including death. Moreover, billions of dollars in development

projects—ranging from significant support for Ukrainian security infrastructure to programs

aimed at supporting education for girls in repressive regimes—are at risk of collapse.

Defendants’ actions not only undermine decades of progress in global health and economic

stability but also diminish U.S. power and strategic influence abroad. ​

​      For all these reasons, Plaintiffs seek declaratory and injunctive relief to set aside the

unlawful dismantling of USAID, and to declare that Defendant Musk’s significant and



                                                  4
       Case 8:25-cv-00462-TDC             Document 93       Filed 04/17/25    Page 5 of 40

wide-ranging activities at USAID violate the Appointments Clause and Separation of Powers

principles of the U.S. Constitution.


                                  JURISDICTION AND VENUE


1.​ This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 2201.

2.​ Venue is appropriate in this judicial district under 28 U.S.C. § 1391(b) and (e) because at

    least one of the Plaintiffs resides in this district.


                             INDIVIDUAL PARTY ALLEGATIONS


3.​ Plaintiffs were all duly employed by USAID as of January 20, 2025.4

4.​ J. Doe 4 is an employee of USAID and has been an employee for 10 years. As a result of

    Defendants’ unconstitutional actions, J. Doe 4 has suffered and continues to suffer injuries

    including (1) unauthorized access to or disclosure of their private data by Defendants, (2)

    interruptions to the ordinary course of their employment, (3) reputational harm, and (4) other

    dignitary harm. These injuries are typical of the class J. Doe 4 represents.

5.​ J. Doe 7 is an employee of USAID and has been an employee for over 10 years. As a result

    of Defendants’ unconstitutional actions, J. Doe 7 has suffered and continues to suffer injuries

    including (1) unauthorized access to or disclosure of their private data by Defendants, (2)

    interruptions to the ordinary course of their employment, (3) reputational harm, and (4) other

    dignitary harm. These injuries are typical of the class J. Doe 7 represents.

6.​ J. Doe 22 is an employee of USAID and has been an employee for 5 years. As a result of

    Defendants’ unconstitutional actions, J. Doe 22 has suffered and continues to suffer injuries

    including (1) unauthorized access to or disclosure of their private data by Defendants, (2)

4
  For the purposes of this Amended Complaint and the Class allegations, Plaintiffs use
“employee” and “employed” to cover all USAID employees, including personal services
contractors (“PSCs”).


                                                    5
         Case 8:25-cv-00462-TDC           Document 93        Filed 04/17/25       Page 6 of 40

       interruptions to the ordinary course of their employment, (3) reputational harm, and (4) other

       dignitary harm. These injuries are typical of the class J. Doe 22 represents.

7.​ J. Doe 27 is an employee of USAID and has been an employee for over 2 years. As a result

       of Defendants’ unconstitutional actions, J. Doe 27 has suffered and continues to suffer

       injuries including (1) unauthorized access to or disclosure of their private data by

       Defendants, (2) interruptions to the ordinary course of their employment, (3) reputational

       harm, and (4) other dignitary harm. These injuries are typical of the class J. Doe 27

       represents.

8.​ J. Doe 28 is an employee of USAID and has been an employee for over 1.5 years. As a

       result of Defendants’ unconstitutional actions, J. Doe 28 has suffered and continues to suffer

       injuries including (1) unauthorized access to or disclosure of their private data by

       Defendants, (2) interruptions to the ordinary course of their employment, (3) reputational

       harm, and (4) other dignitary harm. These injuries are typical of the class J. Doe 28

       represents.

9.​ J. Doe 29 is or was an employee of USAID and has been an employee for 2 years.5 As a

       result of Defendants’ unconstitutional actions, J. Doe 29 has suffered and continues to suffer

       injuries including (1) unauthorized access to or disclosure of their private data by

       Defendants, (2) interruptions to the ordinary course of their employment, (3) reputational

       harm, and (4) other dignitary harm. These injuries are typical of the class J. Doe 29

       represents.

10.​ Defendant Musk is, according to White House spokespeople, an unpaid “special government

       employee” pursuant to 18 U.S.C. § 202. Upon information and belief, Defendant Musk acts

       as the de facto DOGE Administrator. See Executive Order 14158, “Establishing and


5
    As of the date of filing, J. Doe 29’s precise employment status is unclear.


                                                    6
      Case 8:25-cv-00462-TDC            Document 93           Filed 04/17/25   Page 7 of 40

    Implementing the President’s ‘Department of Governmental Efficiency,’” 90 Fed. Reg.

    8,441 (2025). In this role, Defendant Musk oversees a DOGE team, including a “DOGE

    Team Lead” embedded within each federal agency. See id. at Sec. 3(c).

11.​ Defendant United States DOGE Service (“USDS”) was established on January 20, 2025 by

    Executive Order 14158. DOGE’s stated purpose is to “implement the President’s DOGE

    Agenda, by modernizing Federal technology and software to maximize governmental

    efficiency and productivity.” Id. at Sec. 1. “DOGE . . . shall terminate on July 4, 2026” but

    that termination “shall not be interpreted to imply the termination, attenuation, or

    amendment of any other authority or provision of this order.” Id. at Sec. 3(b).

12.​ On information and belief, Defendant Musk directs a web of employees working for “the

    Department of Government Efficiency,” or DOGE. Not all members of DOGE are

    necessarily employees of USDS. For purposes of this Complaint, both Defendant United

    States DOGE Service, as well as the network of personnel working at the direction of

    Defendant Musk, are referred to collectively herein as “DOGE.”

13.​ Defendant United States Agency for International Development was created by Congress in

    1961. It is an independent executive agency that is primarily responsible for administering

    civilian foreign aid and development assistance.

14.​ Defendant United States Department of State is an executive department that is responsible

    for the country’s foreign affairs policy and relations.

15.​ Defendant Donald J. Trump is the 47th President of the United States of America.

16.​ Defendant Marco Rubio is the United States Secretary of State. On February 3, 2025, it was

    publicly reported that President Trump appointed Secretary Rubio to serve as Acting

    Administrator of USAID.

17.​ Defendant Peter Marocco either served as or performed the duties and functions of the



                                                  7
       Case 8:25-cv-00462-TDC           Document 93       Filed 04/17/25   Page 8 of 40

    Acting USAID Deputy Administrator from at least February 2, 2025, to March 18, 2025. In

    sworn testimony, Defendant Marocco indicated that he assumed those duties on January 30,

    2025, but delegation of authority documents signed by Secretary Rubio indicate that

    Defendant Marocco’s delegation occurred no earlier than February 2, 2025.

18.​ Defendant Jeremy Lewin was the DOGE team lead at USAID prior to being delegated the

    roles of USAID Deputy Administrator for Policy and Programming and of Chief Operating

    Officer on March 18, 2025.

19.​ Defendant Kenneth Jackson was delegated the role of USAID Deputy Administrator for

    Management and Resources on March 18, 2025.

20.​ Defendant Amy Gleason is the Acting Administrator of Defendant US DOGE Service. She

    was appointed the acting administrator in February of 2025.


                                    CLASS ALLEGATIONS


21.​ Plaintiffs bring this action on behalf of themselves and all others similarly situated (the

    “Class”), pursuant to Federal Rule of Civil Procedure 23(a) and 23(b)(2), seeking solely

    final injunctive relief and/or corresponding declaratory relief.

22.​ The Class is defined as follows:

           a.​ All persons who, between January 20, 2025 through the present (the “Class

               Period”), worked at any time as employees of USAID, including as personal

               services contractors; specifically excluded from this class are Defendants or any

               other person who, during the Class Period, acted as Administrator or Deputy

               Administrator of USAID.

23.​ Plaintiffs reserve the right to seek to amend or modify the class definition, including by

    proposing subclasses, as the litigation progresses.




                                                 8
      Case 8:25-cv-00462-TDC           Document 93       Filed 04/17/25      Page 9 of 40

24.​ This action seeks only declaratory and injunctive relief. Any and all claims for monetary

    damages are not within the purview of this litigation, including any individual employment

    claims and/or any claims arising under any individual contract with USAID.

25.​ Fed.R.Civ.P. 23(a)(1) Numerosity: As of January 20, 2025, USAID employed between

    5,500 and 10,000 people throughout the United States and internationally, rendering joinder

    of all Class members impractical. The Class is ascertainable and identifiable from USAID

    employment records and documents.

26.​ Fed.R.Civ.P. 23(a)(2) Commonality: There are core questions of law and fact common to

    the Class, resolution of which will generate common answers apt to drive the resolution of

    the litigation. Those include:

           a.​ Whether Defendants’ exercise of executive power beyond the scope of any legally

              authorized appointment, specifically decisions made by Defendant Musk and

              other DOGE members between January 20 and February 3, 2025 pertaining to

              USAID, violates the Appointments Clause of the U.S. Constitution;

           b.​ Whether Defendants’ exercise of executive power beyond the scope of any

              constitutional or legislative grant of authority, specifically the ongoing

              dismantling of USAID, violates fundamental Separation of Powers principles; and

           c.​ The nature and scope of injunctive and/or declaratory relief appropriate in light of

              these constitutional violations.

27.​ Fed.R.Civ.P. 23(a)(3) Typicality: Plaintiffs’ claims are typical of the claims of the Class

    they seek to represent. Plaintiffs J. Doe 4, J. Doe 7, J. Doe 22, J. Doe 27, J. Doe 28, J. Doe

    29, like all members of the Class, were employed by USAID between January 20, 2025 and

    the present (the “Class Period”) and suffered unauthorized access to or disclosure of their

    private data, interruptions to the ordinary course of their employment (including, but not



                                                 9
      Case 8:25-cv-00462-TDC          Document 93        Filed 04/17/25     Page 10 of 40

    limited to, lost access to critical security systems and basic utilities), reputational harm

    and/or dignitary harm as a result of Defendants’ Appointments Clause and Separation of

    Powers violations. Plaintiffs and all members of the Class were thus all directly and

    similarly injured as a result of Defendants’ common course of conduct. Plaintiffs’ claims all

    arise from the same conduct and actions as the claims of all Class members, they have and

    assert the same legal claims arising therefrom, and they are not subject to any unique

    defenses.

28.​ Fed.R.Civ.P. 23(a)(4) Adequacy: Plaintiffs are committed to the vigorous prosecution of this

    action. Plaintiffs understand the nature of class action proceedings and this action

    specifically, and they are willing and able to fulfill their duties of class representatives.

    Plaintiffs’ interests are aligned with, and not antagonistic to, those of the other members of

    the Class, and Plaintiffs have retained counsel competent and experienced in the prosecution

    of constitutional class action litigation to represent themselves and the Class. Accordingly,

    Plaintiffs are adequate representatives and will fairly and adequately protect the interests of

    the Class.

29.​ Fed.R.Civ.P. 23(b)(2): Defendants have acted, or refused to act, on grounds generally

    applicable to the Class, thereby making final injunctive relief and corresponding declaratory

    relief appropriate with respect to the Class as a whole.


                                                 FACTS


Before January 20, 2025: DOGE’s Origin and Defendant Musk’s Role


30.​ In addition to his government role, Defendant Musk serves as the Chief Executive Officer of

    automaker Tesla and of rocket manufacturer SpaceX. He also owns the social media

    company X, formerly known as Twitter. Additionally, he co-founded Neurolink, a



                                                10
      Case 8:25-cv-00462-TDC           Document 93     Filed 04/17/25     Page 11 of 40

    neurotechnology startup, and founded xAI, an artificial intelligence company. Defendant

    Musk’s estimated wealth is approximately $370 billion dollars, and he was the largest

    contributor of the 2024 election cycle, contributing $288 million to support President Trump

    and other Republican candidates.

31.​ In August 2024, Defendant Musk proposed the idea of a “government efficiency

    commission” in a podcast interview with Lex Fridman. As recounted by Forbes Magazine,

    “When Fridman said he wished Musk ‘could go into Washington for a week and be the head

    of the committee for making government smaller,’ the billionaire said he has ‘discussed with

    Trump the idea of a government efficiency commission, and I would be willing to be part of

    that commission.’”

32.​ After that, on August 12, 2024, Defendant Musk interviewed then former President Trump

    on X. Defendant Musk proposed the creation of a “government efficiency commission” that

    would ensure “taxpayers’ money . . . is spent in a good way.” Former President Trump

    expressed support for the idea and indicated that he would consider appointing Defendant

    Musk to lead such a commission if re-elected.

33.​ On September 5, 2024, in a speech to the Economic Club of New York, then former

    President Trump announced his plans to establish a “government efficiency commission”

    that would be “tasked with conducting a complete financial and performance audit of the

    entire federal government, and making recommendations for drastic reforms.” Former

    President Trump also stated that Defendant Musk had agreed to lead this commission.

34.​ At the time of the 2024 election, Defendant Musk’s companies had more than $15 billion in

    contracts with the United States government, including contracts with nine cabinet

    departments and three federal agencies. His companies were the subject of at least 20 recent

    investigations or reviews by five cabinet departments and six independent agencies.



                                              11
     Case 8:25-cv-00462-TDC          Document 93         Filed 04/17/25   Page 12 of 40

35.​ On November 12, 2024, President-elect Trump announced that “the Great Elon Musk,

    working in conjunction with American Patriot Vivek Ramaswamy will lead the Department

    of Government Efficiency (‘DOGE’).” The announcement further stated that: “Together,

    these two wonderful Americans will pave the way for my Administration to dismantle

    Governmental Bureaucracy, slash excess regulations, cut waste expenditures, and restructure

    Federal Agencies—Essential to the ‘Save America’ Movement.” “This will send

    shockwaves through the system, and anyone involved with Government waste, which is a lot

    of people!” stated Defendant Musk. Defendant Musk posted this same statement to X and

    then reposted it as the first X post from the Department of Government Efficiency.

36.​ Defendant Musk and Mr. Ramaswamy made similar points on November 20, 2024 in a Wall

    Street Journal opinion editorial, emphasizing that DOGE would “cut the federal government

    down to size,” through three types of reform: “regulatory rescissions, administrative

    reductions and cost savings.” The editorial criticized “rules and regulations” issued by

    “millions of unelected, unappointed civil servants (from) within government agencies who

    view themselves as immune from firing thanks to civil service protections.” It said that

    DOGE will identify the minimum number of employees required at agencies to perform

    their “constitutionally permissible and statutorily mandated functions” and then reduce

    agency staff in proportion to the number of regulations that are cut. Defendant Musk and Mr.

    Ramaswamy claimed that they would co-lead DOGE as “outside volunteers” and stressed

    the importance of public support and transparency.

37.​ On December 4, 2024, President-elect Trump announced that the “team of incredible

    pioneers at DOGE” would “rebuild a U.S. Government that truly serves the People.”

38.​ On January 8, 2024, Defendant Musk stated that DOGE would seek to cut $2 trillion in

    government spending with $1 trillion as a realistic goal, and that reducing spending within



                                               12
     Case 8:25-cv-00462-TDC           Document 93        Filed 04/17/25      Page 13 of 40

    the federal government would provide a “target rich environment.”


After January 20, 2025: The Creation, Mission, Structure and Staffing of DOGE


39.​ President Trump created the United States DOGE Service in the Executive Office of the

    President on January 20, 2025, in one of his first acts as President. Executive Order 14158,

    “Establishing and Implementing the President’s ‘Department of Governmental Efficiency’”

    90 Fed. Reg. 8,441 (2025). In pursuit of the stated mission “to implement the President’s

    DOGE Agenda,” the order:

          a.​ Creates DOGE teams within each federal agency, including an embedded “DOGE

              Team Lead” who can only be hired by the agency “in consultation with” the

              DOGE Administrator, id. at Sec. 3(c);

          b.​ Orders the DOGE Administrator to commence “a Software Modernization

              Initiative to improve the quality and efficiency of government-wide software,

              network infrastructure, and information technology (IT) systems. Among other

              things, the USDS Administrator shall work with Agency Heads to promote

              inter-operability between agency networks and systems, ensure data integrity, and

              facilitate responsible data collection and synchronization,” id. at Sec. 4(a); and

          c.​ Directs agency leaders to “take all necessary steps, in coordination with the

              [DOGE] Administrator and to the maximum extent consistent with law, to ensure

              [DOGE] has full and prompt access to all unclassified agency records, software

              systems, and IT systems,” id. at Sec. 4(b).

   40.​Since issuing Executive Order 14158, President Trump has issued additional executive

      orders that expand DOGE’s role. For instance:

          a.​ On February 11, he signed Executive Order 14,210, “Implementing the President’s




                                                13
  Case 8:25-cv-00462-TDC           Document 93        Filed 04/17/25      Page 14 of 40

           ‘Department of Government Efficiency’ Workforce Optimization Initiative,”

           which directs agencies to develop data-driven hiring plans and mandates that they

           shall not fill vacancies that “the DOGE Team Lead assesses should not be filled,”

           unless the agency head determines otherwise. Exec. Order No. 14,210, 90 Fed.

           Reg. 9,669 (Feb. 11, 2025).

       b.​ On February 26, he signed another executive order directing agencies to consult

           with DOGE Team Leads on contract and grant reviews, approvals, and

           terminations. Exec. Order No. 14,222, 90 Fed. Reg. 11,095 (Feb. 26, 2025).

41.​Since January 20, President Trump has regularly and repeatedly identified Defendant

   Musk as the leader of DOGE, including but not limited to: ​

       a.​ On February 11, during a press conference held jointly by President Trump and

           Defendant Musk in the Oval Office;

       b.​ On February 18, during an interview with the Sean Hannity Show, where

           President Trump was joined by Defendant Musk;

       c.​ On February 19, before an audience of investors and company executives at the

           Future Investment Initiative Priority Summit;

       d.​ On February 26, when President Trump had Defendant Musk present on DOGE

           activities at length during the first meeting of the President’s Cabinet; and

       e.​ On March 4, during his Presidential Address to Congress.

42.​Similarly, Defendant Musk has regularly and repeatedly identified himself as the leader of

   DOGE. Defendant Musk has consistently posted statements on X claiming to be directing

   DOGE’s work and presented himself as the leader of DOGE during numerous press

   interviews. Indeed, in filings in a Delaware court on March 23, Defendant Musk’s

   personal lawyers identified him as a “high-ranking government official” who is “in charge



                                             14
  Case 8:25-cv-00462-TDC         Document 93         Filed 04/17/25   Page 15 of 40

   of” DOGE.

43.​As the leader of DOGE, Defendant Musk reports directly to President Trump and often

   acts unilaterally in directing DOGE operations.

44.​On February 25, 2025, the White House named Amy Gleason as the Acting USDS

   Administrator. That same day, however, White House Press Secretary Karoline Leavitt

   confirmed that “the President tasked Elon Musk to oversee the DOGE effort” while

   others, including presumably Ms. Gleason, “are helping run DOGE on a day-to-day

   basis.”

45.​The Department of Justice and other administrative officials have, at various times,

   disputed that Defendant Musk leads DOGE and exercises significant authority. But

   numerous courts, including this Court, have concluded that the weight of the factual

   evidence demonstrates that, in fact, Defendant Musk has and still does lead DOGE.

46.​The structure of DOGE, including specifically creating and embedding DOGE teams

   within each administrative agency, has allowed Defendant Musk to amass an

   unprecedented amount of power. He has access to sensitive information across agencies,

   despite purportedly lacking security clearances, and control over the computer systems

   and digital data of numerous agencies. He authorizes and oversees terminating employees

   and contractors, canceling government grants and contracts, terminating leases, and (as

   discussed more below) removing the name from the front of USAID’s building.

47.​Since January 20, DOGE has taken numerous actions without any apparent advanced

   approval by agency leadership across nearly every executive department and agency. For

   example, on February 22, 2025, at 2:46 p.m., Musk posted on X that, in line with

   President Trump’s directive to “GET MORE AGGRESSIVE,” all federal employees

   would soon receive an email asking them to report what they had accomplished during



                                           15
  Case 8:25-cv-00462-TDC            Document 93      Filed 04/17/25      Page 16 of 40

   the prior week, and warned that “[f]ailure to respond will be taken as resignation.” The

   email was sent less than three hours later.

48.​While the members of DOGE have not been consistently identified by the White House

   or other members of the administration, public reporting has filled in some of the gaps.

   For instance, the New York Times and Pro Publica track DOGE-affiliated individuals

   working within DOGE as well as within other agencies. Reporting shows some DOGE

   members within USDS itself (seemingly as employees of the Executive Office of the

   President), as well as embedded within numerous agencies, including the Office of

   Personnel    Management         (“OPM”),   General   Services    Administration,    Treasury

   Department, Department of Health and Human Services, Environmental Protection

   Agency, FBI, Social Security Administration, and USAID. Many of the individuals

   affiliated with DOGE have had prior professional relationships with Defendant Musk,

   including previously working at one or more of his companies.

49.​For instance, on January 23, 2025, OPM announced it was testing a new capability to

   communicate with all civilian federal employees. From about January 23, 2025 through

   January 26, 2025, OPM sent numerous requests to various federal agencies to collect

   information on government employees and about diversity, equity, and inclusion

   initiatives that are now barred. OPM listed an individual named Amanda Scales as the

   contact for questions about these requests. Until recently, Ms. Scales worked in human

   resources at xAI, the private artificial intelligence corporation of which Defendant Musk

   is the founder. Pro Publica reports that she is Chief of Staff at OPM, although it is unclear

   whether she held that role at the time she was collecting such sensitive information, or

   whether she was still at xAI.

50.​Similarly, DOGE member Gavin Kliger has appeared in roles at least at the following



                                              16
    Case 8:25-cv-00462-TDC         Document 93      Filed 04/17/25     Page 17 of 40

     agencies: OPM, Treasury Department, Commerce Department, Consumer Financial

     Protection Bureau, Internal Revenue Service, Department of Agriculture and USAID.

     Forbes reports that, at least as of March 31, 2025, Mr. Kliger was still employed as a

     senior software engineer at Databricks, a cloud-based AI company, but on a leave of

     absence.

  51.​DOGE member Luke Farritor has appeared in roles at least at the following agencies:

     General Services Administration, Centers for Disease Control, Centers for Medicare and

     Medicaid Services, Social Security Administration, Department of Energy, Department of

     Education, Department of Health and Human Services, United States Digital Service,

     Consumer Financial Protection Bureau and USAID. Pro Publica reports that Mr. Farritor

     interned at SpaceX.

  52.​Defendant Jeremy Lewin, who is also a member of DOGE, has appeared in roles at least

     at the following agencies: General Services Administration, State Department, Consumer

     Financial Protection Bureau and USAID.


USAID


  53.​Prior to Defendants’ actions described below, USAID employed up to 10,000 staff, with

     approximately two-thirds posted at the Agency’s more than 60 overseas missions.

  54.​USAID was first created by an Executive Order in 1961. Exec. Order No. 10,973, 26 Fed

     Reg. 10,469, § 102 (Nov. 3, 1961).

  55.​The Foreign Affairs Reform and Restructuring Act of 1998 (“FARRA”) set the

     framework for USAID’s operation as an independent agency, distinct from the

     Department of State. See 22 U.S.C. § 6563(a) (“[T]here is within the Executive branch of

     Government the United States Agency for International Development”). FARRA granted




                                            17
  Case 8:25-cv-00462-TDC           Document 93        Filed 04/17/25      Page 18 of 40

   the President a limited 60‑day period to submit a written “reorganization plan and report”

   for USAID to Congress, a process that allowed for options to “provide for the abolition of

   [USAID] and the transfer of all its functions to the Department of State” or to propose a

   plan for the “transfer to and consolidation” of certain functions along with “additional

   consolidation, reorganization, and streamlining” of the agency. 22 U.S.C. § 6601(a)-(d).

   President Clinton’s report, submitted on December 30, 1998, clearly confirmed that

   “USAID will remain a distinct agency with a separate appropriation.” Reorganization

   Plan and Report Submitted by President Clinton to the Congress on December 30, 1998,

   Pursuant to Section 1601 of the FARRA, as contained in Public Law 105-277, 112 Stat.

   2681 (1998), Ex. 19 at J.R. at 000332.

56.​Since the enactment of FARRA, Congress has not provided the President with statutory

   authority to reorganize, reconstitute, consolidate, or abolish USAID; rather, it has

   expressly rejected attempts to eliminate the agency and continuously reinforced USAID’s

   independent status through repeated direct appropriations.

57.​The Further Consolidated Appropriations Act, 2024, Pub. L. 118-47, 138 Stat. 460,

   prohibits the use of appropriated funds for any reorganization, redesign, or similar plan

   affecting the State Department, USAID, or related entities without prior consultation with

   the appropriate congressional committees. This includes plans to restructure agencies,

   alter overseas presence, or change staffing levels from those previously justified to

   Congress. It also bars financial commitments to eliminate or modify programs, offices, or

   activities without prior justification or advance notice to appropriators.

58.​On March 15, 2025, President Trump signed Pub. L. 119-4, 139 Stat. 9, the Full-Year

   Continuing Appropriations and Extensions Act of 2025, which continues funding “at the

   level specified . . .   and under the authority and conditions provided in applicable



                                             18
     Case 8:25-cv-00462-TDC          Document 93       Filed 04/17/25      Page 19 of 40

      appropriations Acts for fiscal year 2024,” including USAID. Id. at § 1101.


January 20, 2025 - February 3, 2025: Initial Dismantling of USAID


   59.​On January 20, 2025, in addition to establishing DOGE, President Trump signed

      Executive Order 14,169, “Reevaluating and Realigning United States Foreign Aid” (the

      “Foreign Aid Executive Order”). This order directs a “90-day pause” of “new obligations

      and disbursements” of “foreign development assistance” funds in order to assess

      “programmatic efficiencies and consistency with United States foreign policy,” subject to

      waivers by the Secretary of State for specific programs. Exec. Order No. 14,169, 90 Fed.

      Reg. 8,619 (Jan. 20, 2025). Thereafter, Secretary Rubio issued a directive (the “Rubio

      Order”) similarly halting “all new obligations of funding . . . for foreign assistance

      programs” at the State Department and USAID. In Defendant Marocco’s words, this

      involved USAID “going ‘pencils down’” on most of its ongoing work.

   60.​On information and belief, during this same early period, DOGE trained a particular focus

      on the Treasury Department because federal payments are made through the Treasury

      Department’s electronic system. David Lebryk, a decades-long non-political employee of

      the Department, was named Acting Secretary by President Trump and served in that role

      until Scott Bessent was confirmed as Treasury Secretary on January 27, 2025. On or

      around January 25, 2025, Defendant Musk’s allies began asking Mr. Lebryk about source

      code information related to the nation’s payment system on behalf of DOGE. Mr. Lebryk

      denied those requests and was put on administrative leave shortly thereafter.

   61.​In seeking access to Treasury systems, Defendants Musk and DOGE initially stated that

      their goal was merely to undertake a general review of the system and observe its

      operations without interfering with disbursements. However, a January 24, 2025 email




                                              19
  Case 8:25-cv-00462-TDC         Document 93       Filed 04/17/25     Page 20 of 40

   exchange revealed that the DOGE push for access to the Treasury payment system was

   actually intended to “receive access to the closely held payment system so that the

   Treasury could freeze disbursements to [USAID].”

62.​At least initially, DOGE members gained administrator-level privileges, including the

   ability to write code to the Treasury’s secure payment system. On information and belief,

   a DOGE member named Marko Elez made changes to the code base for the payment

   systems related to blocking payments and making the blocked payments less visible. Per a

   January 26, 2025 communication between Treasury officials, the payment systems were

   set up to “intercept USAID payments files prior to ingestion into our PAM/SPS systems,”

   so that they could be reviewed and blocked. On information and belief, Mr. Elez

   improperly exported data containing personally identifiable information, including

   information of Class members, outside of the Treasury systems.

63.​Around this time, White House officials became aware that certain overseas USAID

   grantees had received payments via the Department of Health and Human Services

   (“HHS”) payment system. Although this was the standard method for processing such

   payments and these payments represented obligations for work already completed, DOGE

   team members insisted that USAID senior managers be stripped of their authority to

   approve payments and that only DOGE members be permitted to authorize them going

   forward.

64.​On Monday, January 27, 2025, DOGE members arrived at USAID headquarters at the

   Ronald Reagan Building in Washington, D.C. and demanded unrestricted access to

   USAID’s financial, personnel, and administrative data systems. Soon thereafter, DOGE

   members, including specifically Mr. Kliger and Mr. Farritor, were given the highest level

   of access to USAID digital systems and infrastructure, including the ability to view and



                                          20
  Case 8:25-cv-00462-TDC          Document 93       Filed 04/17/25       Page 21 of 40

   alter emails on behalf of all USAID users and access to even the most sensitive personnel

   information. Other DOGE members physically present included Clayton Cromer and

   Noah Peters.

65.​Also on Monday, January 27, 2025, Mr. Cromer presented to USAID Acting

   Administrator Jason Gray a list of 57 senior officials at USAID with instructions to place

   them on paid administrative leave. The stated reason was their involvement in violations

   of the funding freeze; however, many of the individuals did not have roles related to

   payments decisions or systems. Mr. Gray ultimately approved the demand and placed the

   57 senior officials on administrative leave.

66.​An agency-wide message was sent in the name of Mr. Gray stating that the individuals

   were placed on leave because they had been identified as taking actions within USAID

   that appeared to be “designed to circumvent the President’s Executive Orders and the

   mandate from the American people.” On information and belief, the substance of this

   message was composed by DOGE members.

67.​On January 30, 2025, Mr. Peters, a DOGE member embedded in the OPM (among other

   agency assignments), transmitted to Nicholas Gottlieb, USAID Director of Employee and

   Labor Relations, a list of 11 names. The email indicated that the individuals were users

   who had logged into HHS’s payments systems since the new administration had taken

   office. These 11 names had been forwarded to Mr. Peters by another DOGE member, Mr.

   Farritor, operating, for these purposes, with an HHS email address.

68.​Early on January 30, 2025, Chief Human Capital Officer Bill Malyszka summoned Mr.

   Gottlieb to his office. DOGE members Mr. Peters and Defendant Lewin were present. (At

   the time, they purported to be housed in OPM.) Mr. Peters informed Mr. Malyszka and

   Mr. Gottlieb of DOGE’s intent to conduct a Reduction in Force (“RIF”) within USAID.



                                            21
  Case 8:25-cv-00462-TDC          Document 93         Filed 04/17/25     Page 22 of 40

69.​Shortly after that initial meeting, Mr. Gottlieb was resummoned to Mr. Mlyszka’s office.

   This time, Defendant Lewin demanded that five specific individuals be terminated.

   Defendant Lewin had a written memorandum identifying four of the individuals, and he

   verbally identified a fifth to Mr. Gottlieb. Defendant Lewin instructed Mr. Gottlieb to

   immediately prepare termination notices for these individuals. Mr. Malyszka and Mr.

   Gottlieb informed Defendant Lewin that it would be illegal to terminate those employees

   without affording them due process. Defendant Lewin indicated that he would speak with

   others and ordered that, while Defendant Lewin and DOGE members worked to gather

   sufficient information to warrant the termination of employees, USAID officials were to

   prioritize preparing and implementing RIF notices.

70.​Mr. Gottlieb prepared a memorandum that same day detailing why there was no legal

   justification for keeping the 57 senior officials individuals on administrative leave and his

   intention to reinstate those individuals that afternoon. At 4:19 p.m. that day, January 30,

   2025, Mr. Gottlieb sent an email to his USAID colleagues stating: “Today, representatives

   of the Agency’s front office and DOGE instructed me to violate the due process of our

   employees by issuing immediate termination notices to a group of employees without due

   process. I refused and have provided Acting Administrator Gray with written notification

   of my refusal. I have recommended in that written notification that his office cease and

   desist from further illegal activity. . . . I was notified moments ago that I will be placed

   on administrative leave, effective immediately.”

71.​Mr. Gottlieb’s distribution of his memorandum, and refusal to follow DOGE member

   Defendant Lewin’s orders, sparked the chain of events described below, including the

   unauthorized physical takeover of USAID headquarters by DOGE.

72.​According to statements by Defendant Marocco and Secretary Rubio, including sworn



                                            22
      Case 8:25-cv-00462-TDC          Document 93       Filed 04/17/25    Page 23 of 40

       statements by Defendant Marocco, on January 30, 2025, Mr. Gray was removed from his

       position as Acting Administrator and returned to his former position of Chief Information

       Officer of USAID. That same day, President Trump purportedly directed Secretary Rubio

       to perform the duties of USAID Administrator. However, on information and belief,

       Defendants have never publicly produced an official instrument documenting the date of

       this transition, and there was no public reporting of the transition, including Secretary

       Rubio’s new role, until February 3, 2025.

    73.​In sworn declarations filed in multiple legal cases, Defendant Marocco has stated that

       Secretary Rubio delegated to him the duties and functions of the USAID Deputy

       Administrators,6 in his role as Acting Administrator on January 30, 2025. However, a

       subsequent official delegation of duties document signed by Secretary Rubio indicates

       that Defendant Marocco was not delegated this authority until February 2, 2025, which

       would mean that there was no person acting with the authority of Deputy Administrator

       during this critical time period (January 30-February 2, 2025).

    74.​On Friday, January 31, 2025, Defendants removed plaques with USAID’s official seal

       from the agency’s headquarters.

    75.​On Saturday, February 1, 2025, DOGE operatives shut down the USAID website. That

       same day, USAID placed an additional 57 employees on administrative leave.

    76.​Also on February 1, 2025, Steve Davis, a very high ranking member of the DOGE

       apparatus, and a team of other DOGE members (including Messrs. Kliger, Farriter, and

       Peters), arrived at the Ronald Reagan building demanding physical access to USAID

       offices. DOGE members Edward Corsitine and Defendant Lewin were also reportedly


6
 At various times in agency history, the role of Deputy Administrator has been split between a
Deputy Administrator of Policy and Programming and a Deputy Administrator of Management
and Resources.


                                                23
  Case 8:25-cv-00462-TDC          Document 93        Filed 04/17/25      Page 24 of 40

   present. The DOGE team sought access to USAID’s data security systems, physical

   access to highly restricted areas, including sensitive compartmented information facilities

   (“SCIFs”), despite lacking proper security clearances.

77.​Security personnel, including at various points USAID Director of Security John Vorhees

   and Deputy Director Brian McGill, tried to prevent DOGE from accessing classified

   spaces. Initially, USAID personnel refused to give DOGE members access to any part of

   the building. Mr. Davis and other members of DOGE began yelling at the security

   personnel and threatened to call the U.S. Marshals Service to apprehend the USAID

   employees. Eventually, the ranking USAID employee at the scene allowed the DOGE

   team into the main entrance area of the building but not into any restricted areas.

78.​The DOGE team continued to yell at the security personnel, demanding greater access to

   the building. Mr. Davis called Defendant Musk on the phone, and the two made several

   direct calls to USAID senior leadership. During these calls they yelled at the officials,

   threatened them with the U.S. Marshals Service, and demanded that members of DOGE

   be granted immediate access to sensitive agency data systems and physically restricted

   areas within headquarters. They also insisted that dozens of USAID officials be

   suspended from duty. On information and belief, Defendant Marocco may also have been

   involved in these calls and may have been physically present. It is unclear why it was

   necessary to harass and intimidate Mr. Gray or other USAID leaders, if, as Defendants

   have claimed, Secretary Rubio was already performing the duties of Administrator and

   Defendant Marocco was already performing the duties of Deputy Administrator, in which

   case they would have had the authority to simply order access.

79.​At the same time this altercation was occurring, DOGE members began trying to access

   the USAID building security systems on their computers.



                                            24
  Case 8:25-cv-00462-TDC           Document 93         Filed 04/17/25      Page 25 of 40

80.​At one point, while searching through USAID’s computer systems, Messrs. Davis,

   Farritor, and Peters figured out that a particular security official had restricted their access

   to the building. Because certain DOGE members, including Mr. Farritor, already had

   complete administrative access to USAID systems, Mr. Farritor was able to manually

   remove the building restrictions for himself and other members of DOGE so that they

   could access the entire building, including restricted, confidential areas for which they

   had no clearance to access. The DOGE members took these actions unilaterally, on the

   spot, and in person.

81.​Mr. Vorhees and Mr. McGill were both placed on administrative leave at this time.

82.​During this time period, Matt Hopson, the Chief of Staff for USAID, resigned.

83.​On Sunday, February 2, 2025, without prior notification, DOGE cut off access to email

   and other government computer systems for thousands of Class members.

84.​Over the course of February 1 and 2, 2025, Defendants Musk and DOGE continued to

   dismantle both the agency’s physical and technological infrastructure. This included

   searching through the work and personal belongings of USAID employees who worked at

   the Ronald Reagan building. Current and former copies of USAID’s Automated Directive

   System, which contain the official internal USAID policies and guidance, were deleted

   from the internet, and the agency’s classified computer systems were dismantled.

85.​On February 2, 2025, it was communicated to staff that 791 individual PSCs would have

   their contracts terminated.

86.​At 12:42 AM on Monday, February 3, 2025, Mr. Kliger sent an email to all USAID staff

   telling them to work remotely for the day, as USAID headquarters would be closed. The

   email purported to be from “USAID Press” and stated that the directive was “[a]t the

   direction of Agency leadership,” but listed Mr. Kliger as the reply-to recipient. Mr. Kliger



                                              25
      Case 8:25-cv-00462-TDC           Document 93        Filed 04/17/25       Page 26 of 40

       gained access to the USAID computer systems as part of the infiltration of digital assets

       described above and issued to himself an agency email address, gkliger@usaid.gov.

    87.​Minutes after Mr. Kliger sent that email, Defendant Musk posted on X (at 12:54 AM):

       “We spent the weekend feeding USAID into the wood chipper.”

    88.​Indeed, Defendant Musk made numerous statements during this time period claiming

       responsibility for dismantling USAID and vilifying Class members. For instance,

       a.​ On February 2, 2025, in response to an X post describing Mr. Vorhees and Mr.

          McGill’s placement on leave, Defendant Musk posted “USAID is a criminal

          organization. Time for it to die.”

       b.​ Later on February 2, 2025, in the “First DOGE X Spaces Conversation,”7 Defendant

          Musk said, “So to be clear, in shutting down, which we’re in the process of doing,

          shutting down USAID, the reason for that, as opposed to simply trying to do some

          minor housecleaning, is that, as we dug into USAID, it became apparent that what we

          have here is not an apple with a worm in it, but we have actually just a ball of worms .

          . . If you’ve got an apple that’s got a worm in it, maybe you can take the worm out,

          but if you’ve got actually just a ball of worms, it’s hopeless. And USAID is a ball of

          worms. There is no apple. And when there is no apple, you’ve just got to basically get

          rid of the whole thing . . . That is why it’s got to go, it’s beyond repair.”

       c.​ On February 3, 2025, Defendant Musk stated that, “[w]ith regards to the USAID stuff,

          I went over it with (the President) in detail, and he agreed that we should shut it

          down.”

    89.​On February 3, 2025, Edward Martin, then U.S. District Attorney for the District of

       Columbia, wrote a letter to Defendant Musk which opened with the line, “It was good to

7
 This was a live audio discussion held on X, hosted by Defendant Musk and featuring different
speakers.


                                                 26
     Case 8:25-cv-00462-TDC          Document 93        Filed 04/17/25   Page 27 of 40

      work with the DOGE team this weekend.”

   90.​At or around this time, Defendant Jeremy Lewin began acting as the DOGE team lead for

      USAID.


February 4, 2025 - March 18, 2025: Second Phase Dismantling of USAID


   91.​Defendant Musk, assisted by his DOGE subordinates, continued to exercise control over

      USAID systems—including restricted systems and locations that house sensitive data

      which the DOGE staff does not have clearance to legally access—to systematically block

      access to all systems by USAID personnel.

   92.​For instance, in a joint press conference with President Trump on February 11, 2025,

      Defendant Musk made clear that he and his DOGE team still controlled the levers of

      funding at USAID. A journalist asked Defendant Musk: “USAID has been one of your

      main targets. Are you concerned at all that some of the cuts, or shutting an agency

      altogether, may lead to disease or other bigger problems starting in other countries that

      then come to the United States?” In his response, Defendant Musk, referring to DOGE,

      stated, “we have turned on funding for Ebola prevention and for HIV/PR prevention. And

      yes, we are moving fast. We will make mistakes, but we’ll fix them very quickly.”

   93.​On Friday, February 7, 2025, Musk announced on X that United States Customs and

      Border Protection (“CBP”) had taken over the USAID headquarters. He posted a photo of

      the building’s main entrance with the words “U.S. Agency for International

      Development” removed from above the door, accompanied by the caption “Unburdened

      by what has been.” USAID staff and contractors who worked in the building were not

      permitted to enter to collect their personal belongings.

   94.​Between February 3 and February 7, 2025, approximately 2,140 of the approximately




                                               27
  Case 8:25-cv-00462-TDC         Document 93       Filed 04/17/25     Page 28 of 40

   4,765 (44.9%) direct hire employees of USAID had been placed on administrative leave.

95.​An internal communications notice was sent to USAID employees stating that, effective

   February 7, 2025 at 11:59 P.M., “all USAID direct hire personnel will be placed on

   administrative leave globally, with the exception of designated personnel responsible for

   mission-critical functions, core leadership and specially designated programs.”

   Defendants had identified an additional 2,104 USAID employees and scheduled them to

   be placed on administrative leave, which would have brought the total number of USAID

   direct hire employees on leave to 4,244 out of 4,765—nearly 90% of the agency’s direct

   hire workforce.

96.​On February 7, 2025, a D.C. District Court Judge issued a temporary restraining order

   (“TRO”) blocking the administration’s plan to put additional USAID employees on

   administrative leave. See American Foreign Service Ass’n v. Trump, — F. Supp. 3d —,

   No. 1:25-CV-352 (CJN), 2025 WL 435415 (D.D.C. Feb. 7, 2025). The district court

   dissolved this order on February 21, 2025. See American Foreign Service Ass’n v. Trump,

   — F. Supp. 3d —, No. 1:25-CV-352 (CJN), 2025 WL 573762 (D.D.C. Feb. 21, 2025).

97.​On or around February 8, 2025, the USAID Office of Inspector General estimated that

   approximately 90% of USAID’s Bureau for Humanitarian Assistance (“BHA”) global

   staff—approximately 1,089 individuals, including direct hires, PSCs, and Institutional

   Support Contractors—had been or would soon be sidelined through the Trump

   Administration’s actions.

98.​Over 1,400 USAID Foreign Service Officers serving overseas were issued a Recall

   Notice requiring them to return to the United States within 30 days. Typically this would

   be a six to nine month process.

99.​On or around February 8, 2925, DOGE lead for USAID, Defendant Lewin, drafted an



                                          28
    Case 8:25-cv-00462-TDC          Document 93        Filed 04/17/25      Page 29 of 40

     “Action Memo for Secretary Rubio” directing USAID to terminate approximately 78

     contracts totaling $1.02 billion and 68 grants totaling $660.7 million in aggregate value.

 100.​   Some of these awards contained funding appropriated through the Reinforcing

     Education Accountability in Development Act of 2017 (the “READ Act”), P.L. 115-56,

     131 Stat. 1129, which was originally signed into law on September 8, 2017 by President

     Trump, and introduced in 2023 for reauthorization by then Senator Marco Rubio. When

     the USAID contracting officers asked the Agency Front Office about these awards, they

     were instructed to terminate them without notification to Congress that funds appropriated

     through a specific Act of Congress were being terminated. Further, after receiving an

     order to terminate contracts, at least one contracting officer asked the Senior Procurement

     Executive, Jami Rodgers, who had issued the orders and received a response back directly

     from DOGE member Defendant Lewin.

 101.​   Defendant Lewin reprimanded at least one high ranking USAID employee for

     conducting reviews of the awards slated for termination, with Defendant Lewin writing,

     “bureaus should not be conducting their own policy and program reviews before acting on

     these termination instructions.”

102.​ Public reports of the initial plans for USAID indicated that the Trump Administration

    intended to eventually take the agency from a staff of over 10,000 down to a staff of

    approximately 300. Defendant Marocco has separately stated that it was determined that,

    at that time, only 611 employees qualified as essential, some of whom were considered

    essential only in order to continue winding down operations.

103.​ On February 12, 2025, U.S. Representative Gregory W. Meeks, ranking member of the

     House Foreign Affairs Committee, sent a letter to Secretary Rubio complaining that the

     administration had started downsizing and reorganizing USAID without statutorily



                                              29
    Case 8:25-cv-00462-TDC           Document 93        Filed 04/17/25       Page 30 of 40

     required consultation and stated, “To be clear: USAID cannot be abolished by the

     Secretary of State nor the President of the United States without an act of Congress.”

     Upon information and belief, Defendants did not publicly respond to this concern.

104.​ During a February 13, 2025 video appearance at the World Governments Summit,

     Defendant Musk stated, “I think we do need to delete entire agencies as opposed to leave

     [sic] a part of them behind . . . It’s kind of like a weed, if we don’t remove the roots of the

     weed, then it’s easy for the weed to grow back.”

105.​ On February 13, 2025, a D.C. district judge issued an order enjoining the Trump

     Administration from issuing stop-work orders or preventing the obligation of

     congressionally appropriated funds for any federal foreign assistance awards that were in

     existence as of January 19, 2025. AIDS Vaccine Advoc. Coal. v. United States Dep’t of

     State, — F. Supp. 3d —, No. CV 25-00400 (AHA), 2025 WL 485324 (D.D.C. Feb. 13,

     2025), enforced 2025 WL 569381 (D.D.C. Feb. 20, 2025).

106.​ Because agency staffing had been gutted and operating systems, such as USAID’s

     payment system Phoenix, were wholly or partially rendered inoperable by DOGE,

     compliance with court orders regarding restarting operations has been stymied and

     incomplete.

107.​ On February 19, 2025, during the Future Investment Initiative Institute Priority Summit,

     President Trump stated, “[o]ver the past month, we have effectively eliminated the U.S.

     Agency for International Development.”

108.​ On February 21, 2025, Defendant Musk responded to a post, regarding the dissolution of

     the TRO enjoining placing certain USAID staff on leave, that read “President Trump and

     DOGE can now DISMANTLE USAID.” Defendant Musk responded that “the world will

     be better for this.”



                                               30
    Case 8:25-cv-00462-TDC            Document 93     Filed 04/17/25    Page 31 of 40

109.​ By February 22, 2025, approximately 800 PSCs, or 75% of the entire PSC workforce, had

     received termination notices.

110.​ On February 23, 2025, Defendants posted a “Notification of Administrative Leave” to

     USAID.gov, stating that as of 11:59 PM, all USAID direct hire personnel, with the

     exception of designated personnel responsible for mission-critical functions, core

     leadership and/or specially designated programs, would be placed on administrative leave

     globally. The notice also announced that, concurrently, USAID would begin

     implementing RIF actions.

111.​ At   approximately   3:42      PM,   USAID    employees   received a    message from

     usaid_fo@subscribe.usaid.gov stating that, effective 11:59 PM that evening, “all USAID

     direct hire personnel with the exception of designated personnel responsible for

     mission-critical functions, core leadership and/or specially designated programs, will be

     placed on administrative leave globally.” The notice further advised: “Concurrently,

     USAID is beginning to implement a Reduction-in-Force that will affect approximately

     2,000 USAID personnel with duty stations in the United States.”

112.​ On Sunday, February 23, 2025, DOGE member Mr. Kliger created the email account

     hr_announcements@usaid.gov. That same day, employees began receiving RIF notices

     from hr_announcements@usaid.gov consisting of an unsigned memorandum identified as

     being from “Peter Marocco, Acting Deputy Administrator, USAID” (despite Defendant

     Marocco not occupying that position). Those notices stated that the employees would be

     “separated from the Federal service” effective April 24, 2025 for domestic employees and

     May 26, 2025 for overseas employees. All staff serving overseas were ordered to return to

     the United States. The RIF Notice instructed employees to contact USAID Employee and

     Labor Relations via email for any questions, but when they did, they received an



                                             31
    Case 8:25-cv-00462-TDC          Document 93        Filed 04/17/25     Page 32 of 40

     automatic reply stating that the office “only has a skeleton staff at this point and may not

     be able to respond to everyone individually,” and that it “cannot currently provide

     information on your individual status.” At least one employee later received a message

     stating that the Employee and Labor Relations office had not, in fact, sent these RIF

     notices.

113.​ On or about February 26, 2025, Defendants completed a review of USAID obligation

     awards and determined that USAID would terminate approximately 5,800 awards and

     retain only approximately 500 (less than 10%). That same day, approximately 5,700

     award termination notices were sent out from a previously non-existent or unused

     SPE@usaid.gov email address. The notices were signed using a generic cursive font by

     contracting officers who were not responsible for the awards, rather than verified digital

     signatures by the appropriate contracting officers, as is typical. The correct USAID

     personnel responsible for managing the awards were not copied on the notices.

114.​ On February 27 and 28, 2025, after it was raised as an issue in litigation, Defendants

     directed USAID staff who had worked at the Ronald Reagan Building to collect their

     personal belongings in 15-minute intervals.

115.​ By March 2, 2025, the Bureau for Global Health—which has an annual appropriation of

     $10 billion from Congress that includes funding for HIV, tuberculosis, malaria, maternal

     and child health, infectious diseases, global health security, family planning and

     reproductive health, and nutrition—had been reduced from having an active workforce of

     783 down to a workforce of 67 (a 91.4% reduction).

116.​ On March 10, 2025, Secretary Rubio announced that 5,200 contracts, representing

     roughly 83% of USAID programming, had been cancelled, and wrote, “[t]hank you to

     DOGE and our hardworking staff who worked very long hours to achieve this overdue



                                              32
    Case 8:25-cv-00462-TDC            Document 93   Filed 04/17/25     Page 33 of 40

     and historic reform.”

117.​ Based on its own accounting as of March 10, 2025, DOGE claimed direct credit for

     terminating 2,191 contracts valued at $26.1 billion and 2,366 grants valued at $41.8

     billion, totaling nearly $68 billion.


 March 18, 2025 - Present: Third Phase Dismantling of USAID


118.​ On or around March 18, 2025, Defendant Lewin, who describes himself as the previous

     DOGE team lead at USAID, and Defendant Jackson were delegated the duties and

     functions of the USAID Deputy Administrator for Policy and Programming and Deputy

     Administrator for Management and Resources, respectively. Defendant Lewin was also

     assigned the duties and functions of USAID Chief Operating Officer.

119.​ On March 19, 2025, it was publicly reported that unnamed Trump Administration

     officials had crafted a document outlining their foreign aid policy plans. These plans

     included winding down USAID and then “[c]odifying the refocused USAID under a new

     name as a subsidiary of the State Department,” and “abolishing its legal status as an

     ‘independent establishment.’” In the “Structural Changes, Short Term” section of the

     Appendix “Roadmap to Implementation,” the document recommended entirely

     eliminating 12 bureaus and 8 offices within USAID, as well as consolidating other

     bureaus within the Agency.

120.​ On March 28, 2025, Defendant Lewin sent an email to USAID personnel entitled “Final

     Mission.” The email stated: “Substantially all non-statutory positions at USAID will be

     eliminated. As a result, USAID personnel globally will be subject to a consolidated

     Reduction-in-Force (“RIF”) action. Within the next few minutes, USAID personnel will

     begin receiving RIF notices via email. These notices will specify one of two separation




                                             33
    Case 8:25-cv-00462-TDC          Document 93        Filed 04/17/25      Page 34 of 40

     dates: July 1, 2025 or September 2, 2025.” It went on to say that “[b]y July 1, 2025, the

     State Department will have assumed responsibility for USAID’s remaining programming,

     and many of our colleagues will depart for State or other opportunities. The remaining

     USAID personnel will then supervise the responsible decommissioning of USAID assets

     and the wind-down of the Agency’s independent operations.”

121.​ If allowed to take effect, Defendants’ current plans would take USAID down to a

     workforce of only approximately 15 positions. As Defendant Lewin’s email specifies, any

     previous USAID employees would have to separately reapply for any “available roles” at

     the State Department.

122.​ Shortly after this email, USAID employees began receiving RIF notices via email. Many

     of these notices appeared to be the result of a sloppy mail merge, containing incorrect

     recipient information. The details of employment history for individuals were also highly

     inaccurate. In addition to being disrespected and humiliated, Class members have been

     left in a state of complete uncertainty as to their current status and are unable to properly

     plan for themselves and their families.

123.​ Also on March 28, 2025, a Congressional Notification Transmittal Letter and

     Congressional Notification was sent by Paul Guaglianone, Senior Bureau Official in the

     Bureau of Legislative Affairs to Congress. Among other things, the Notification stated

     that “[s]ubstantially all USAID personnel will be separated from federal service within

     the current fiscal year via Reduction-In-Force procedures,” that “a separate and

     independent hiring process to build foreign assistance capacity” in the State Department

     would be initiated to replace USAID, and that existing USAID bureaus and offices would

     either be “abolished” or “realigned to the State Department.” Additionally,

     congressionally appropriated funds would be “transfer[red]” from USAID to the State



                                               34
    Case 8:25-cv-00462-TDC          Document 93       Filed 04/17/25     Page 35 of 40

     Department, which would manage the funds while operations at USAID are “closed out

     in a smooth and orderly transition.” The letter was framed as simply notifying Congress

     of Defendants’ plans for the Agency and in no way indicated an opportunity for

     consultation between Congress or congressional committees and the Agency or its

     leaders.

124.​ Accompanying this development, Secretary Rubio issued a statement in which he

     claimed, “USAID strayed from its original mission long ago,” and characterized its

     activities as “misguided and fiscally irresponsible.” The statement further confirmed that

     the Department had “notified Congress on their intent to undertake a reorganization that

     would involve realigning certain USAID functions to the Department by July 1, 2025, and

     discontinuing the remaining USAID functions that do not align with Administration

     priorities.”

125.​ Due to its effective dismantling, USAID is “unable to perform its core functions and even

     certain basic functions of a governmental agency.” Mem. Op. at 39, ECF No. 73. For

     example, on April 4, 2025, in response to a question by a member of the press as to

     whether the dismantling of USAID had contributed to the lack of an on-the-ground

     response to the devastating Myanmar earthquake, Secretary Rubio acknowledged that it

     had. It was also publicly reported that the limited number of USAID workers who had

     been sent to Myanmar to deal with the humanitarian emergency were then terminated

     while on assignment.

126.​ Not only do Defendants’ actions injure the Plaintiffs and Class members as described

     herein, but, according to the USAID Office of Inspector General, the “pause in funding

     and reductions in staff, including over 90 percent of [the Bureau for Humanitarian

     Assistance’s] workforce furloughed or placed on administrative leave” has “curtailed



                                             35
    Case 8:25-cv-00462-TDC            Document 93     Filed 04/17/25      Page 36 of 40

     USAID’s ability to vet humanitarian assistance awards for potential terrorist ties and

     monitor aid deliveries in high-risk environments.”

127.​ Further, because of Defendants’ actions, Defendant USAID is failing to comply with

     statutory obligations, including those imposed by the Federal Information Technology

     Acquisition Reform Act, the Federal Information Security Management Act, the Privacy

     Act, the E-Government Act of 2002, and the Government Performance and Results Act,

     among others. In addition, the shutdown of the USAID website likely prevents the agency

     from fulfilling its congressional reporting and transparency requirements, such as those

     contained in the Further Consolidated Appropriations Act, 2024, Pub. L. 118-47, 138 Stat.

     460, 770, div. F, tit. VII, § 7016(b).


                          COUNT ONE: ​
   VIOLATION OF THE APPOINTMENTS CLAUSE OF THE UNITED STATES
                         CONSTITUTION
128.​ Plaintiffs hereby reallege and incorporate all allegations in the above paragraphs as if

     fully set forth herein.

129.​ The Appointments Clause of the U.S. Constitution states, in relevant part, that the

     President of the United States “shall nominate, and by and with the Advice and Consent

     of the Senate, shall appoint Ambassadors, other public Ministers and Consuls, Judges of

     the supreme Court, and all other Officers of the United States, whose Appointments are

     not herein otherwise provided for, and which shall be established by Law: but the

     Congress may by Law vest the Appointment of such inferior Officers, as they think

     proper, in the President alone, in the Courts of Law, or in the Heads of Departments.”

     U.S. Const. art. II, § 2, cl. 2. The President cannot evade the requirements of the

     Constitution by purporting to vest the powers of a principal officer in a “mere employee.”

130.​ Principal officers are defined by possessing significant authority on an ongoing basis, as



                                              36
    Case 8:25-cv-00462-TDC         Document 93        Filed 04/17/25     Page 37 of 40

     judged by the importance of the matters implicated by their actions, the scope of their

     discretion and their ability to make final decisions on behalf of the executive branch.

     Principal officers must always be appointed “by and with the Advice and Consent of the

     Senate.” Defendant Musk was never appointed in this manner, despite serving as the de

     facto DOGE administrator and continuing to exercise an unprecedented level of power

     and control over the federal government.

131.​ Through his DOGE subordinates, Defendant Musk directed the closure of USAID

     headquarters and the effective dismantling of USAID. Especially prior to February 3,

     2025, Defendant Musk exercised unbridled discretion in doing so, unilaterally acting far

     outside any lawfully recognized chain of command.

132.​ Defendant Musk’s actions with regard to USAID have been mirrored throughout the

     executive branch; indeed, as President Trump has explained, Defendant Musk’s

     responsibility is to ensure that the President’s executive orders are immediately

     implemented, regardless of legal or administrative roadblocks. This arrangement

     eviscerates the protections that undergird our constitutional system and is not allowed by

     the Appointments Clause.


                                 COUNT TWO: ​
                      VIOLATION OF SEPARATION OF POWERS
133.​ Plaintiffs hereby reallege and incorporate all allegations in the above paragraphs as if

     fully set forth herein.

134.​ Defendants have violated and continue to violate fundamental Separation of Powers

     principles by repeatedly subverting and superseding powers reserved for the Legislative

     Branch.

135.​ The United States Constitution establishes a system of separated powers, ensuring that




                                             37
    Case 8:25-cv-00462-TDC           Document 93         Filed 04/17/25       Page 38 of 40

     legislative power is vested in Congress (Article I), executive power is vested in the

     President (Article II), and judicial power is vested in the courts (Article III).

136.​ This constitutional structure is designed to preserve the fundamental principle that each

     branch of government operates within its designated sphere, thereby preventing any

     single individual or entity from amassing the type of unchecked governmental authority

     that undermines democracy itself.

137.​ Defendants’ collective actions to dismantle USAID, a congressionally created

     independent agency that is provided for with direct appropriations that have specific

     conditions, without congressional authorization far exceeds any previously known or

     acceptable exercise of executive power. In other words, President Trump cannot authorize

     any Defendant to “delete” USAID—that decision is for Congress alone to make.

138.​ Additionally, here, Defendants’ Appointment Clause violations necessarily constitute a

     Separations of Powers offense.

139.​ Further, DOGE itself, as structured and implemented, operates beyond the bounds of any

     proper executive power. Despite purporting to be an information technology efficiency

     initiative, DOGE is embedded within USAID and other federal agencies and wields

     significant, coercive power, including the ability to mandate staffing and key operational

     changes, override proper channels of agency decision-making, implement new policies

     with regulatory effect, freeze congressionally appropriated funds, and shut down

     agencies.

140.​ In sum, Defendants’ actions contravening the expressed will of Congress are a direct

     affront to the Constitution’s structural safeguards against tyranny and violate core

     Separation of Powers principles.


                                   PRAYER FOR RELIEF


                                                38
      Case 8:25-cv-00462-TDC         Document 93        Filed 04/17/25        Page 39 of 40

 141.​ WHEREFORE, Plaintiffs and Class members request that this Court:

          a.​ Declare unlawful and set aside any actions taken by Defendants to unlawfully

              modify, reorganize, or eliminate USAID or its bureaus, departments, offices, or

              subdivisions in violation of Separation of Powers principles;

          b.​ Declare that Defendant Musk’s significant and wide-ranging activities at USAID

              violates the Appointments Clause of the U.S. Constitution;

          c.​ Declare unlawful and set aside any actions taken at USAID by Defendant Musk,

              his DOGE subordinates, and any person working on behalf of or at the direction of

              Defendant Musk or DOGE;

          d.​ Enjoin Defendants from taking further actions to unlawfully modify, reorganize,

              or eliminate USAID or its bureaus, departments, offices, or subdivisions unless

              and until specifically authorized to do so by Congress;

          e.​ Enjoin Defendant Musk and his DOGE subordinates from performing their

              significant and wide-ranging duties at USAID;

          f.​ Award the Plaintiffs and Class members reasonable fees, costs, and expenses,

              including attorneys’ fees, pursuant to 28 U.S.C. § 2412; and

          g.​ Award such other relief as the Court deems just.



Respectfully submitted,

 /s/ Norman L. Eisen
Norman L. Eisen [9112170186]
Tianna J. Mays [1112140221]
STATE DEMOCRACY DEFENDERS FUND
600 Pennsylvania Avenue SE, Suite 15180
Washington, DC 20003
Tel: (202) 594-9958
Norman@statedemocracydefenders.org
Tianna@statedemocracydefenders.org


                                               39
      Case 8:25-cv-00462-TDC        Document 93        Filed 04/17/25   Page 40 of 40


Mimi Marziani*
Rebecca (Beth) Stevens*
Joaquin Gonzalez*
MARZIANI, STEVENS & GONZALEZ PLLC
1533 Austin Highway, Suite
102-402 San Antonio, TX 78218
Tel: (210) 343-5604

Richard M. Heimann**
Nicole M. Rubin***
LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
275 Battery Street, 29th Floor
San Francisco, CA 94111
Tel: (415) 956-1000

* Admitted pro hac vice
** Notice of appearance and pro hac vice forthcoming
*** Notice of appearance forthcoming




                                             40
